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                       Exhibit 14
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                        EXPERT REPORT OF HENRY RINDER, M.D.

            In Re: Xarelto (Rivaroxaban) Products Liability Litigation (MDL-2592)

                                          October 14, 2016


Introduction

I have reviewed multiple materials, consisting of, but not limited to, various clinical study
reports, internal and external correspondence and communications between Bayer, Janssen, and
others, deposition testimony, medical literature, regulatory documents, and other materials
relevant to Rivaroxaban (Xarelto) and anticoagulation management at issue in this case. A
complete listing of the materials that I have reviewed and considered in formulating my opinions
is set forth in Appendix A attached to this report. In addition to those materials, I also rely on my
background, education, training and clinical experience as described below, as well as the
relevant published literature.

In addition, attached to this report are my curriculum vitae (Appendix B), and my prior
testimony for the past four years and fee schedule (Appendix C).

Methodology Employed in Expert Review

In formulating the opinions articulated in this report, I have employed the same scientific method
that I apply in the clinical setting when evaluating patients who present with or are at risk for
hematologic disorders, including bleeding or thrombosis. My approach to diagnosis, evaluation of
risk: benefit, and my recommendations for treatment remain the same whether I am retained as an
expert in a litigation setting or treating a patient in the clinical setting. In reviewing and evaluating
the relevant literature on the subject of Rivaroxaban and anticoagulation management, as well as
the safety profile of Rivaroxaban, I have conducted my literature search, review and analysis in
the same manner that I utilize in my clinical practice as well as in drafting and submitting
manuscripts for consideration of publication, whether in peer-reviewed journals or other scientific
venues.

Background for Henry M. Rinder, M.D.

I am a licensed physician practicing in the state of Connecticut. I attended medical school at the
University of Pennsylvania School of Medicine and the University of Vermont College of
Medicine, receiving my degree in 1984. I trained in Internal Medicine at Maine Medical Center
(Portland, ME), and Hematology and Laboratory Medicine, both at Yale-New Haven Hospital
(New Haven, CT). I have been an attending physician at Yale-New Haven Hospital since 1992
where I currently practice Hematology and Laboratory Hematology.



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My research at Yale University School of Medicine has been concerned with the science of
blood clotting and bleeding. I am currently a Professor of Laboratory Medicine and Internal
Medicine (Hematology) at Yale University. For additional background regarding my clinical and
research activities, and publications authored by me in the last ten or more years, please refer to
my curriculum vitae attached to this report as Appendix B. Besides research and clinical
practice, I teach hematology to medical students, physician assistant students, residents, and
fellows throughout the Yale-New Haven Health System, and other Yale University School of
Medicine affiliated training programs.

I have written multiple textbook chapters on thrombosis and bleeding, and I am one of the
editors of the text “Hematology in Clinical Practice.” My clinical practice over the past 20 years
has included the diagnosis and treatment of patients with arterial thrombosis, venous thrombosis,
and atrial fibrillation, the latter including patients with complications of ischemic and/or
hemorrhagic stroke, systemic embolism, and bleeding while on anticoagulation. I have been
involved in the diagnosis and treatment of hundreds of anticoagulated patients with atrial
fibrillation and thousands of patients with thrombotic or bleeding disorders.

All of the opinions formed and set-forth below are rendered with a reasonable degree of medical
and scientific certainty. I reserve the right to supplement my opinions as new information
becomes available.




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Summary of Opinions

   1. The safe and effective use of Rivaroxaban (Xarelto) requires measuring drug
      concentration levels or activity levels (e.g., prothrombin time (PT) or anti-Factor Xa).
         a. Rivaroxaban is a narrow therapeutic index drug, meaning that its principal
             toxicity, bleeding, is a result of its intended effect; too low a dose results in
             inadequate protection against blood clots, and too high a dose results in excessive
             risk of bleeding.
         b. Rivaroxaban exhibits interpatient variability with respect to drug plasma
             concentration, meaning two patients who take the same pill can experience
             significantly different (i.e., higher or lower) degrees of exposure.
         c. There is a correlation between drug exposure, as measured by drug concentration,
             and the effect of the drug, as measured by prothrombin time (PT).
         d. There is a correlation between the measured effect of Rivaroxaban (PT) and
             safety outcomes (i.e., bleeding events), meaning as PT levels increase in a
             Rivaroxaban-treated patient that patient’s risk of experiencing a major bleeding
             event also increases.
         e. Therefore, it is my opinion that obtaining a PT result, with the appropriate
             reagent, would be helpful and necessary to evaluate the bleeding risk of
             Rivaroxaban-treated patients.
         f. Rivaroxaban therapy should be discontinued in Rivaroxaban-treated patients with
             a PT of greater than 20 seconds, as measured with the appropriate agent at the
             appropriate time, as they are at an unnecessary, excessive risk of experiencing a
             major bleeding event without any evidence of additional stroke risk reduction
             benefit.

   2. The clinical trial supporting the atrial fibrillation (AF) indication for Rivaroxaban,
      ROCKET AF, suffers from multiple serious flaws that compromise the integrity of the
      results.
          a. There was suboptimal management of the Warfarin arm in the ROCKET AF trial,
               which had the lowest time in therapeutic range (TTR) out of every single new oral
               anticoagulant (NOAC) Phase III clinical trial involving Warfarin.
          b. The management of Warfarin patients in ROCKET AF was conducted with a
               faulty international normalized ratio (INR) device, thereby undermining the
               reliability of ROCKET AF at best, and invalidating the study at worst.

   3. Rivaroxaban is the least effective and least safe of all NOACs.

   4. The manufacturers of Rivaroxaban failed to adequately communicate to the public,
      including physicians and patients, the impact of the faulty INRatio device used in the
      ROCKET AF trial.

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   5. The Rivaroxaban label is inadequate in the following ways:
         a. It lacks a black box warning with respect to bleeding risk. The absence of a black
             box warning inappropriately communicates to patients and physicians that
             Rivaroxaban is safer than Warfarin with respect to bleeding risk.
         b. It fails to inform physicians, like myself, of the following information: 1) the
             degree of inter-patient variability with respect to drug plasma concentrations; 2)
             the near linear correlation between drug plasma concentration and PT with
             numerous available reagents; 3) the relationship observed between PT and
             bleeding risk in the ROCKET AF trial; and 4) the utility of using a PT
             measurement to identify those patients at highest risk of bleeding.
         c. From November 2011 until September 2015, it failed to properly inform
             physicians of the bleeding risk for Rivaroxaban relative to well-controlled INR
            for Warfarin in U.S. patients. The hazard ratio for bleeding in U.S. patients in
            ROCKET AF is critical to understanding the risk/benefit of Rivaroxaban; this
            important information was not included in the label until September 2015.
         d. It fails to adequately describe how the low TTR affected efficacy and safety in the
             ROCKET AF trial.

Rivaroxaban (Xarelto): Approval, Indications, Mechanism of Action

Rivaroxaban (Xarelto), a direct factor Xa inhibitor, was first approved by the FDA on July 1,
2011. Xarelto is included in the class of drugs called New Oral Anticoagulants (NOACs), which
also includes Dabigatran (Pradaxa), Apixaban (Eliquis), and Edoxaban (Savaysa).

Rivaroxaban (Xarelto) is currently approved for three (3) indications in the United States: (1) for
the prophylaxis of deep vein thrombosis (DVT) and pulmonary embolism (PE) in patients
undergoing hip or knee replacement surgeries (based on RECORD clinical trials); (2) to reduce
the risk of stroke and systemic embolism in patients with non-valvular atrial fibrillation (based
on ROCKET clinical trial); and (3) for the treatment of DVT and/or PE, and to reduce the
recurrence of such conditions (based on EINSTEIN clinical trials).

Pathophysiology of Thromboembolism Arising from Atrial Fibrillation (AF)

Normal hemostasis reflects the physiologic balance of procoagulant and anticoagulant factors
that promote liquid blood flow (prevention of clotting) while maintaining vascular integrity
(prevention of bleeding). When this balance is disrupted by excessive procoagulant forces,
thrombosis (clotting) may result, whereas introducing anticoagulation tips the balance to promote
bleeding. When atrial fibrillation (AF) is present, the procoagulant aspect of blood stasis within
the left atrium and its appendage increases the likelihood that a clot will form in this
compartment of the heart. Such clots can travel (embolize) from the left atrium out through the
arterial circulation to occlude arteries and cause ischemic infarctions within the brain (ischemic

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stroke), and/or the extremities, gastrointestinal tract, kidneys, and any other organ (systemic
embolization). Without anticoagulation, AF has a 5-6% annual risk of stroke; in most patients,
this annual stroke risk exceeds the risk of major bleeding with well-controlled anticoagulation.
Hence, anticoagulation is generally recommended for patients with AF unless there is a specific
contraindication to anticoagulation, e.g., the risk of major bleeding with anticoagulation
outweighs the risk of stroke/embolization without anticoagulation.

Pathophysiology of Deep Vein Thrombosis and Pulmonary Embolism

Venous thromboembolism (VTE) commonly presents with localized symptoms and signs,
usually as a deep vein thrombosis (DVT) in the lower extremities, or as a pulmonary embolism
(PE) when a DVT breaks off and travels to the lungs. The risk of VTE (including DVT and PE)
is increased by pathologies that act through Virchow’s triad: blood stasis, blood vessel damage,
and blood hypercoagulability. Immobilization, orthopedic surgery, pregnancy, and the use of oral
contraceptives are some examples of conditions which predispose patients to develop VTE. The
best management of VTE is prevention. Patients undergoing a high-risk procedure (e.g.
orthopedic surgery) should receive anticoagulation prophylaxis following the procedure. When
VTE does occur, therapeutic anticoagulation is required to prevent extension of the DVT or PE
and/or DVT embolism to the lungs resulting in PE.

General Principles of Anticoagulant Therapy

As noted above, anticoagulant medications disrupt the normal balance of the body's pro- and
anti-coagulant physiology by lessening the ability to make a clot, thus producing the desired
therapeutic effect; however, this imbalance simultaneously diminishes normal sealing of vascular
leaks, leading to an increased incidence of hemorrhage. As more anticoagulation is delivered to
the patient (higher drug concentration or activity), the frequency of major bleeding rises; this is
true for all anticoagulants. Hence, appropriate dosing for each patient achieves the optimal
balance of benefit (lessened clotting) and risk (acceptable bleeding rate). Personalized
anticoagulation is achieved by monitoring anticoagulant activity (Warfarin and unfractionated
heparin) or by administering a weight-based dose (low molecular weight heparin); both methods
achieve a drug concentration/activity within a determined therapeutic range/index. Below this
range, there is an excess risk of thrombosis; above the therapeutic index, there is excess risk of
hemorrhage.

Warfarin Anticoagulation in Atrial Fibrillation (AF) and Treatment of DVT and PE

Warfarin is an approved oral anticoagulant for AF; Warfarin reversibly inhibits the synthesis of
the active pro-coagulant proteins thrombin and Factors 7, 9, and 10, thereby lessening the ability
to generate a clot, resulting in anticoagulation. The goal of Warfarin anticoagulation in patients
with AF is to achieve a therapeutic index (INR of 2.0-3.0, see below) within which there is
significant lowering of the risk for ischemic stroke/systemic embolization (SSE), while preserving
acceptably lower rates of bleeding. In AF patients, Warfarin reduced ischemic stroke to 1.4% per

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year compared to 4.5% in patients treated with placebo. Warfarin lessened stroke-associated
mortality by 74%; major bleeding with Warfarin was increased by 30% over placebo [Wysowski
DK. Bleeding complications with Warfarin use. Arch Intern Med 2007;167:1414-9]. Like all
anticoagulants, Warfarin has known rates of hemorrhagic risk. [FDA-approved label for Coumadin
dated 10/2011].

Patients with DVT or PE acutely receive full-dose anticoagulation, generally with a weight-
adjusted parenteral heparin, either low molecular weight heparin or unfractionated heparin. This
regimen is overlapped with beginning a daily dose of oral warfarin to achieve an international
normalized ratio (INR) of 2.0-3.0, usually within the first week of therapy. Heparins are
discontinued once the INR is therapeutic (2.0-3.0) for 48 hours. The duration of anticoagulation in
VTE patients should be personalized and is affected by the presence of provocative factors for the
VTE, the risk of anticoagulant-induced hemorrhage, the presence of acquired and/or genetic VTE
risk factors, and the individual patient’s medical condition.

Monitoring and Warfarin

The therapeutic index for Warfarin is evaluated by employing a functional clotting assay, the
prothrombin time (PT), for monitoring Warfarin activity. For Warfarin, the PT result is converted
mathematically into a universally accepted standard, termed the international normalized ratio
(INR), that monitors the balance of Warfarin efficacy and safety. The INR is used by all
laboratories world-wide to monitor and adjust Warfarin dosing in order to achieve a value within
the therapeutic index for atrial fibrillation, generally an INR of 2.0-3.0.

Exposure Assessment of Rivaroxaban

The FDA has recently emphasized the importance of companion diagnostics for therapeutic
products, as the INR is employed for Warfarin. Such laboratory assays are critical for the
advancement of precision medicine because physicians can use the results to: [a] determine
which patients may benefit from therapy; [b] detect patients who might suffer adverse effects
from therapy; [c] identify patients for whom therapy is both safe and effective; and [d] monitor
and guide adjustment of therapy. The above principles are applicable to Rivaroxaban use.

Besides the above reasons, there are also specific circumstances [Kitchen, Brit J Haematol 2014]
in which knowing the concentration or activity of an anti-Xa anticoagulant like Rivaroxaban
would be beneficial for clinical care; these include: [a] the occurrence of bleeding, whether
unprovoked or following injury/trauma; [b] when drug overdose is suspected; [c] to determine
efficacy and management if a thromboembolic event occurs while the patient is purportedly on
therapy; [d] if emergency invasive procedures or surgery are required; [e] when renal function
deteriorates; or [f] when abnormal absorption or accumulation of the drug is a concern.




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        A. Narrow Therapeutic Index (NTI)

In my opinion, Xarelto is a narrow therapeutic index drug. I concur with the below definition of
NTI proffered by the FDA. 1

                 Those drugs where small difference in dose or blood concentration may lead to
                 serious therapeutic failures and/or adverse drug reactions. Serious events are those
                 which are persistent, irreversible, slowly reversible, or life-threatening. NTI drugs
                 generally have the following characteristics: steep dose-response curves for both
                 safety and efficacy in the usual dosing interval or close effective concentrations
                 and concentrations associated with serious toxicity, [s]ubject to therapeutic drug
                 monitoring based on pharmacokinetic (PK) or pharmacodynamics (PD) measures,
                 and [g]enerally small within subject variability. [Approaches to Demonstrate
                 Bioequivalence of Narrow Therapeutic Index Drugs, Advisory Committee for
                 Pharmaceutical Science and Clinical Pharmacology, July 26, 2011 at Slide 15].

        B. Variability

Patients treated with Xarelto exhibit a log difference in inter-patient variability with respect to
drug plasma concentration.




[Mueck 2014]


1
  The FDA has stated that oral anticoagulants “are intrinsically narrow therapeutic range drugs because their
principal toxicity, bleeding, is a result of their intended pharmacodynamics activity; too low a dose results in
inadequate prevention of pathological thrombosis and consequent serious clinical events and too high a dose results
in excessive inhibition of physiologic clotting and excessive bleeding.” [November 2011 FDA Summary Review
Memorandum approving the A-fib indication]

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As shown in the above table, when looking at trough concentrations, Xarelto-treated patients
exhibit an approximately 11-fold variability (5th-95th percentile = 12-137) in the 20mg SPAF
population. Similar degrees of inter-patient variability were observed in other doses and/or
indications [see Mueck 2014]. When looking at minimum and maximum values, the variability
observed between patients is even greater than a log difference, as noted in the 20mg ROCKET
AF population in the below figure.




[XARELTO_BPAG_00006581 at p. 28]

       C. Pharmacokinetic (PK)/pharmacodynamics (PD) Correlation

Rivaroxaban concentrations (ng/mL) are measured in the laboratory (e.g., Quest Diagnostics)
and can be correlated with Xa activity (Douxfils Thromb Haemostas 2013). Rivaroxaban
monitoring using Xa was performed in multiple hospitals in real-life clinical settings [Asmis
Thromb Res 2011]. The Xa assay for Rivaroxaban was found to be accurate, precise,
reproducible, and suitable for some hospital laboratories [Asmis], but this assay is more
technically challenging than clot-based methods which are done in every hospital laboratory and
many clinic- and office-based laboratories.

The prothrombin time (PT) is a readily available clot-based assay which is sensitive to
Rivaroxaban [Baglin J Thromb Haemostas 2013]. As noted above, the PT monitors Warfarin
anticoagulation via the INR; the PT, expressed as either the absolute PT result in seconds or as a
ratio to the pre-Rivaroxaban PT, can be used to monitor Rivaroxaban levels.

Indeed, the clinical development of Xarelto observed a linear correlation [see figure below]
between drug plasma concentration and PT using the Neoplastin reagent (Diagnostica Stago).




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[FDA Briefing Document for the Cardiovascular and Renal Drugs Advisory Committee
(CRDAC), dated 8 September 2011, Clinical Review, p. 37]


ROCKET AF patients [Girgis, J Clin Pharmacol 2014] were examined with the Neoplastin PT
assay and another commercial clotting assay (Pefakit PiCT from Pentapharm) to generate models
of Rivaroxaban concentration versus clot-based results (normalized to pre-drug values). The
authors concluded that the drug concentration-PT relationship in AF patients reflected “the
sensitivity of this coagulation marker towards increases in rivaroxaban drug exposure,” and they
stated that the sensitivity was similar to both DVT [Mueck Clin Pharmacokinet 2011] and ACS
patients treated with Rivaroxaban [Xu Brit J Clin Pharmacol 2012]. The authors [Girgis et al
2014] also found that “[n]otably, detectable levels of Rivaroxaban were still present at 24 hours
post-dose, as were detectable prolongations of both PT and PiCT.”




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[FDA Briefing Document for the September 2011 Advisory Committee Meeting discussing
approvability of the Xarelto A-fib indication, p.38.]

Similarly, ODIXa-DVT and EINSTEIN DVT Phase II patients [Mueck Clin Pharmacokinet
2011] demonstrated that “[p]lasma Rivaroxaban concentrations of up to approximately 500 ug/L
correlated with the PT [Neoplastin] in an almost linear fashion.” The authors found that the
“slope of the plasma concentration-PT correlation graph reflected the sensitivity of the PT to
increases in Rivaroxaban exposure” and concluded “that the PT could be used to assess
[Rivaroxaban] exposure.”

Rivaroxaban-treated patients with total hip replacement [Mueck Thromb Haemostas 2008] found
that “prolongation of PT (Neoplastin) correlated strongly with plasma Rivaroxaban
concentrations.” A recommendation [Baglin J Thromb Haemostas 2013] of the Subcommittee on
Control of Anticoagulation of the Scientific and Standardization Committee of the International
Society on Thrombosis and Haemostasis determined that “the PT is useful as a readily available
method for determining the relative degree of anticoagulation in patients taking rivaroxaban.”
Although individual laboratory PT assays will vary, “[r]ivaroxaban plasma calibrator sets are
available, and can be used to optimize rivaroxaban measurements with the PT test.” The British
Committee for Standards in Haematology stated “that it may be feasible to employ a
Rivaroxaban sensitivity index similar to the specific ISI [international sensitivity index] in a
PT/INR system to normalize and reduce the variability of the results obtained with different
reagents” based on two studies [Harenberg 2011, Tripodi 2011].




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The degree of correlation between PT and drug plasma concentration is reagent-dependent and
illustrated below.




[Douxfils J, et al. Assessment of the impact of Rivaroxaban on coagulation assays: Laboratory
recommendations for the monitoring of Rivaroxaban and review of the literature. Thromb Res
(2012), http://dx.doi.org/10.1016/j.thromres.2012.09.004]


In materials prepared by Janssen, the following was reported:

              If assessment of rivaroxaban plasma concentrations is necessary in individual
              patients, the prothrombin time (PT) was reported to be an appropriate coagulation
              test. The relationship between PT and rivaroxaban plasma concentration when
              Neoplastin® Plus, STA Neoplastin®, or Innovin® is used as the reagent is linear

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              and closely correlated. The pharmacodynamics effects of rivaroxaban as
              measured by the PT are strongly affected by the type of PT reagent that is used.
              [XARELTO_JANSSEN_24478012, p. 1]

       D. Correlation between PT and Outcomes

The majority of ROCKET patients had PT drawn at two time points during the trial: “at weeks
12 and 24 when all patients were to have a PT drawn, most of the samples were obtained
between 13 and 15 hours post dose, as seen in the distribution in Figure 12 below” [FDA
Briefing Document for the September 2011 Advisory Committee Meeting discussing
approvability of the Xarelto A-fib indication]:




[FDA Briefing Document for the September 2011 Advisory Committee Meeting discussing
approvability of the Xarelto A-fib indication, p. 44.]


Using these measurements, a correlation was observed for Rivaroxaban between increasing PT
values and frequency of major bleeding events.




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[FDA Briefing Document for the September 2011 Advisory Committee Meeting discussing
approvability of the Xarelto A-fib indication, p. 40.]

PT monitoring of Rivaroxaban levels had clinical importance in the ROCKET AF study as
demonstrated by an increasing bleeding frequency with each quartile of PT values as noted in
Table 5 [section 4.1.4.4] of the FDA’s Clinical Pharmacology Biopharmaceutics Review [2010].
The bleeding frequency in the 4th quartile of PT values (≥19.8 sec) was 2.28-fold, 1.69-fold, and
1.45-fold higher than for the 1st, 2nd, and 3rd quartiles, respectively; this relationship between
bleeding rate and PT quartile for Rivaroxaban was preserved in the U.S. only data [Table 6]. The
major bleeding frequency reported for U.S. patients on Rivaroxaban was at least 2-fold higher
than for non-U.S. Rivaroxaban patients across all PT quartiles, e.g., 2.5-fold higher bleeding for
U.S. patients compared with non-U.S. in the 4th PT quartile. A lesser increase was noted in
bleeding for U.S. Warfarin patients [Table 7] compared with non-U.S. patients, e.g., 4th quartile
INR bleeding was 1.8-fold higher.

Conversely, no correlation was found between increasing PT values and stroke frequency for
Rivaroxaban.




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[FDA Briefing Document for the September 2011 Advisory Committee Meeting discussing
approvability of the Xarelto A-fib indication, p. 39.]

Considering all of the above, including the reagent used (Neoplastin), the timing of the PT
relative to last dose (~13-15 hours post dose), the flat dose-response curve for stroke, the steep
dose response curve for major bleeds, and the 2.28 fold increased risk of a major bleed of the 4th
PT quartile (>19.8 seconds) relative to the lower exposure groups, it is my opinion that Xarelto
should be discontinued in patients whose PT (using Neoplastin and collected ~13-15 hours post
dose) is greater than 20 seconds, as I believe this constitutes a reasonable and conservative cut-
off point at which the risks outweigh any benefit.

Tripodi [J Thromb Haemostas 2011] 2 calculated a Rivaroxaban-specific ISI for each PT reagent
and found “the linearity of the relationship was excellent for all thromboplastins.” This PT
standardization for Rivaroxaban monitoring showed excellent precision, was simple to perform,
and effective at minimizing variability. Harenberg [Blood Coagul Fibrinolysis 2011] similarly
determined that “[i]ncreasing concentrations of rivaroxaban…prolonged coagulation times…of
all PT assays in a linear manner.” Douxfils [Thromb Res 2012] confirmed that “Rivaroxaban
showed a concentration-dependent prolongation of PT” and noted that “the use of the widely
available PT assay, in conjunction with rivaroxaban calibrators, may be useful for the
measurement of peak plasma levels of rivaroxaban.”




2
    This same paper was referred to prescribing physicians by Janssen. See XARELTO_JANSSEN_24478012.

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Tripodi [J Thromb Haemostas 2013] noted the PT assay without standardization to be sufficient
for Rivaroxaban measurement; Gosselin [Int J Lab Hem 2015] confirmed the correlation
between PT and Rivaroxaban concentration. Nakano [J Cardiol 2014] found that a PT ≥ 20 sec
[HemosIL reagent] at Rivaroxaban peak indicated an increased risk of bleeding. The ROCKET
AF data [noted above] using the Neoplastin reagent found a linear correlation of the PT with
Rivaroxaban concentration and clinically meaningful bleeding risk relative to PT quartile values.
[FDA’s Clinical Pharmacology Biopharmaceutics Review [2010]]. 3

These data support my opinion that the PT can identify Xarelto-treated patients at the highest
risk of suffering a major bleeding event. Moreover, in my opinion, the Xarelto label is
inadequate because it does not inform physicians, like myself, of the following information: 1)
the degree of inter-patient variability with respect to drug activity and concentrations; 2) the
linear correlation between drug concentration and PT results with available PT reagents; 3) the
relationship observed between PT quartiles and bleeding risk in the ROCKET AF trial for overall
and U.S. only data ; and 4) the utility of using PT to identify those patients at highest risk of
bleeding.

Rivaroxaban and Warfarin Anticoagulation in Clinical Trials for Atrial Fibrillation

ROCKET AF [Patel NEJM 2011] examined rates of ischemic stroke and systemic embolism
(SSE) and hemorrhagic complications in Warfarin and Rivaroxaban patients with nonvalvular
atrial fibrillation (AF). SSE events demonstrated non-inferiority of Rivaroxaban in comparison
with Warfarin; major or clinically relevant non-major bleeding were not significantly different.

3
  See, e.g., Lippi, G., et al. Urgent monitoring of direct oral anticoagulants in patients with atrial fibrillation: a
tentative approach based on routine laboratory tests. J Thromb Thrombolysis DOI 10.1007/s11239-014-1082-5 (09
May 2014):

                  The number of patients diagnosed with atrial fibrillation who will be candidates for antithrombotic
                  therapy with direct oral anticoagulants (i.e., dabigatran, rivaroxaban, apixaban and edoxaban) is
                  exponentially rising worldwide, thus posing substantial economic and organization challenges for
                  their urgent monitoring…Based on literature data, we have hence developed an algorithm based
                  on first-line tests for urgent screening of the anticoagulant effect of direct oral anticoagulants,
                  which entails activated partial thromboplastin time (aPTT) for dabigatran and prothrombin time
                  (PT) for rivaroxaban…According to the literature data, this strategy appears suitable to reliably
                  define the thrombotic or bleeding risk in an urgent setting, contextually saving precious laboratory
                  resources.

See also, Center for Drug Evaluation and Research, Application Number 202439Orig1s000, Summary Review,
Deputy Division Director Decisional Memo, dated 04 November 2011, p. 9:

                  The clinical pharmacology and clinical reviewers demonstrated that there is a linear correlation
                  between rivaroxaban levels and prothrombin time (PT). They also demonstrated that there is also a
                  correlation between PT and risk of bleeding. This applicant has not chosen to utilize this
                  information… infrequent monitoring (perhaps at initiation and yearly thereafter) to assure
                  appropriate dosing of drugs that prevent stroke and cause bleeding may improve outcomes and be
                  acceptable to patients.


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The major bleeding rate for Rivaroxaban was 3.4% per100 patient-years, similar to later bleeding
registry [Beyer-Westendorf Blood 2014] data (3.1%) for Rivaroxaban in AF. 4

Bleeding subset analysis showed mixed results in ROCKET AF. Warfarin subjects had
significantly fewer instances of common hemorrhagic complications: [a] major decreases in
hemoglobin levels; [b] red blood cell transfusions; and [c] gastrointestinal [GI] bleeding.
Rivaroxaban subjects had significantly fewer instances of rarer bleeding complications: [a]
“critical” bleeding; [b] fatal bleeding; and [c] intracranial bleeding. The incidence of
hemorrhagic stroke was significantly lower for Rivaroxaban compared with Warfarin in those
subjects < 75 years, but not in the group 75 years or older [Halperin Circulation 2014].

Warfarin Management in ROCKET AF

There was suboptimal management of the Warfarin arm in ROCKET AF, which had the lowest
overall time in therapeutic range (TTR) 55%, out of the three NOAC Phase III clinical trials for
AF [Schneeweiss, Circulation 2012], compared with 62% in the ARISTOTLE trial (Apixaban)
and 64% in the RELY trial (Dabigatran). It is not unexpected then that the rate of ischemic
stroke/systemic embolism per 100 patient years was higher in ROCKET AF, 2.42, compared
with 1.60 and 1.71 for ARISTOTLE and RELY, respectively. Anticoagulation control, as
reflected by TTR, is critical for patient outcomes; the rates of stroke and mortality decline with
every decile increase in TTR. Rates for stroke and mortality fell by more than half going from
TTR 31-40% to 61-70% [Gallagher Thromb Haemostas 2011].

Warfarin management in ROCKET AF [Singer, J Am Heart Assoc 2013 and 2015] for U.S. and
Canada study sites (TTR of 64%) was much better than other sites: Eastern Europe (50%), East
Asia (50%), and India (36%); only Western Europe had a TTR comparable (63%) to
U.S./Canada. The frequency of major bleeding with Rivaroxaban was 50% higher (HR 1.50,
95% CI 1.14-1.98) than Warfarin in U.S. sites [Table 103, FDA Draft Briefing Document for the
Cardiovascular and Renal Drugs Advisory Committee, 8 September 2011], but the U.S. data was
not contained in the label until 9/2015 at the request of the FDA
[XARELTO_JANSSEN_00000344].

INR management of Warfarin patients in ROCKET AF was conducted with a faulty point-of-
care (POC) device (recalled in December 2014, see below). The POC device used in ROCKET
AF was recalled in December 2014 [FDA class I recall notice] with the FDA citing “clinically
significantly lower” values than a laboratory method [Cohen BMJ 2016], and the POC device
fault was present as far back as 2002, prior to the start of ROCKET AF. Post-hoc analysis [Patel
NEJM 2016] used the assumption that INR errors were caused by anemia or clinical conditions




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 The first and senior authors of this registry have relationships with Bayer Healthcare, Boehringer Ingelheim,
Bristol-Myers Squibb, and Pfizer.

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that might lead to an increased fibrinogen, but these conditions were not found to influence the
INR discrepancies according to the European Medicines Agency (February 2015) report.

INR results from the faulty POC in ROCKET AF did yield lower values than the corresponding
laboratory INR, which can lead to a higher frequency of unrecognized Warfarin overdoses. In
fact, 29% of subjects with a laboratory INR>4.0 (well above therapeutic range) at week 12 had
POC INR values <3.0 [Table S5, NEJM], and 33% of subjects at week 24 had the same
discrepancy.

The clinical context of this discrepancy is excess bleeding risk. Warfarin patients with INR>4.0
are treated correctly by having anticoagulation held and may receive vitamin K to counteract the
overdose; Warfarin is resumed at lesser dosing to achieve INR of 2.0-3.0. By contrast, for the
ROCKET AF patients with laboratory INR>4.0, the POC INR used to guide Warfarin
management for about one-third of such patients was discrepant, indicating that they were falsely
within or even below the 2.0-3.0 therapeutic range. Hence, these Warfarin subjects would remain
at unnecessarily increased bleeding risk. In addition, 20% of the discrepant POC INR were <2.0,
those patients would be placed at an even greater bleeding risk since the falsely low POC INR
would trigger increasing the Warfarin dose in patients who are already overdosed.

The BMJ article [Cohen 2016] also noted that the skewed POC results could affect the trial
outcome by making “…Rivaroxaban seem safer than it was in terms of the risk of bleeding and
throws doubt on outcomes used to support the use of the world’s best-selling new oral
anticoagulant.” I agree these doubts undermine the integrity of the ROCKET AF trial at best, and
invalidate the study at worst; coupled with the low overall TTR and the wide range of TTR based
on geography, the integrity of the results is in question, especially with the possibility of a falsely
high incidence of bleeding with Warfarin. This was ultimately confirmed by the FDA in its
‘ROCKET AF Reanalysis Reviews’ issued on September 26, 2016 [FDA CDER ROCKET AF
Renalysis Reviews, NDA 202439].

Rivaroxaban and Warfarin Anticoagulation in Clinical Trials for Treatment of VTE

Patients presenting with acute DVT were studied in the EINSTEIN trial [NEJM 2010] for
efficacy (evaluated by the rate of recurrence of DVT and/or PE) and safety (bleeding) in a
comparison of Rivaroxaban versus low molecular weight heparin plus Warfarin. The method for
monitoring INR in Warfarin subjects is not stated in the published manuscript. Recurrent VTE
rates were 2.1% for Rivaroxaban and 3.0% for Warfarin for an HR of 0.68 (0.44-1.04); rates of
major bleeding were 0.8% and 1.2% in the respective arms for an HR of 0.65 (0.33-1.30). This
major bleeding incidence for Rivaroxaban of 0.8% was lower than the 4.1% incidence found for
Rivaroxaban in VTE subjects enrolled in a subsequent data registry [Beyer-Westendorf Blood
2014].

Patients presenting with acute pulmonary embolism (PE) were similarly studied in the
EINSTEIN-PE trial [NEJM 2012] with the same Rivaroxaban and Warfarin therapeutic design.

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The method for monitoring INR in Warfarin subjects again is not stated in the published
manuscript. Recurrent VTE rates were 2.1% for Rivaroxaban and 1.8% for Warfarin for a HR of
1.12 (0.75-1.68); rates of major bleeding were 1.1% and 2.2% in the respective arms for a HR of
0.49 (0.31-0.79). This major bleeding incidence for Rivaroxaban of 1.1% was lower than the
4.1% incidence found for Rivaroxaban in VTE subjects enrolled in a subsequent data registry
[Beyer-Westendorf Blood 2014].

New Oral Anticoagulants (NOAC) for AF

Three major analyses of the ARISTOTLE, RELY, and ROCKET AF trials were published in
2012. In a meta-analysis [Miller, Am J Cardiol 2012], both Apixaban (HR 0.79) and Dabigatran
(HR 0.65) were superior to Warfarin for preventing ischemic or hemorrhagic stroke and systemic
embolism; Rivaroxaban (HR 0.88) was not superior to Warfarin. Only Apixaban was safer than
Warfarin (HR 0.69) for major hemorrhage risk; Dabigatran (HR 0.93) and Rivaroxaban (HR
1.04) were comparable to Warfarin.

In a separate analysis [Lip JACC 2012], Dabigatran had a 26% lesser risk for ischemic
stroke/systemic embolism (SSE) and a 56% lower risk for hemorrhagic stroke than Rivaroxaban;
Apixaban and Rivaroxaban were not different. Apixaban demonstrated 26% and 34% lesser risk
of major bleeding compared with Dabigatran and Rivaroxaban, respectively; Apixaban had a
41% and 26% lesser risk for GI/extracranial bleeding compared with Dabigatran and
Rivaroxaban, respectively.

In a CHADS 2 ≥3 subset [Schneeweiss Circulation 2012], Apixaban and Dabigatran, but not
Rivaroxaban, were superior to Warfarin for reducing SSE. For reducing major bleeding, only
Apixaban was superior to Warfarin, and Apixaban was superior to both Dabigatran and
Rivaroxaban. Both Dabigatran and Apixaban showed approximately 20% better efficacy at
reducing SSE than Rivaroxaban, but this did not reach statistical significance.

The analyses of Phase III clinical trials show that Rivaroxaban had the overall poorest
performance. Rivaroxaban is therefore not the only alternative, nor is it the best alternative, to
Warfarin for AF. This assessment was shared by Dr. Robert Califf, current Commissioner of the
FDA, and then principal investigator of the ROCKET trial. In an email [XARELTO_JANSSEN
00207793] dated February 22, 2012 regarding the Miller study, Gary Peters notes that Dr.
Califf’s “interpretation is that Rivaroxaban appears to be the least favored option…[he] suspects
many other similar analyses will appear over time as well.” This interpretation is further
supported by recent real-world evaluations.

In a U.S. study [Lip, Thromb Haemostas 2016], both Apixaban (HR 0.53) and Dabigatran (HR
0.69) had significantly lower risk of major bleeding compared to Warfarin, but Rivaroxaban did
not (HR 0.98). Rivaroxaban demonstrated significantly higher risk (HR 1.82) of major bleeding
than Apixaban, but Rivaroxaban and Dabigatran were not different (HR 1.05).


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In a Danish study [Larsen BMJ 2016], the weighted risk of SSE over one (1) year in comparison
to Warfarin did not differ among the three NOACs. However, the risks of both major bleeding
and all-cause mortality were reduced by Dabigatran (HR 0.61 and 0.63, respectively) and
Apixaban (HR 0.63 and 0.65, respectively) compared with Warfarin, but Rivaroxaban did not
differ from Warfarin.

In another U.S. study [Yao J Am Heart Assoc 2016], matched cohorts were examined for
Apixaban, Dabigatran, and Rivaroxaban against Warfarin. In the table below adapted from Yao’s
published paper, hazard ratios (HR) which are significant have a *.

                                      Oral Anticoagulants

 HR compared with        Apixaban                 Dabigatran              Rivaroxaban
 Warfarin
 SSE                     0.67*                    0.98                    0.93
 Hemorrhagic stroke      0.35*                    0.56                    0.61
 Major bleeding          0.45*                    0.79*                   1.04
 Intracranial bleeding   0.24*                    0.36*                   0.51*
 GI bleeding             0.51*                    1.03                    1.21*


Apixaban was significantly more effective and safer than Warfarin, while Dabigatran
significantly lowered the risk of both major and intracranial bleeding. Rivaroxaban significantly
reduced the risk of intracranial bleeding but increased the risk of GI bleeding compared with
Warfarin. Neither Dabigatran nor Rivaroxaban decreased the risk of stroke/systemic embolism
compared with Warfarin.

A recent study [Graham JAMA 2016] compared Rivaroxaban 20 mg once daily versus
Dabigatran 150 mg twice daily for patients aged 65 years or older with nonvalvular AF;
Rivaroxaban was associated with significant increases in intracranial hemorrhage with an HR of
1.65 (1.20-2.26), major extracranial bleeding with an HR of 1.48 (1.32-1.67), and major
gastrointestinal bleeding with an HR of 1.40 (1.23-1.59). Thirty-day case fatality rates for
hemorrhage (31.8% for intracranial, 3.1% for major extracranial, and 3.3% for major
gastrointestinal) did not differ between cohorts.

The Current Labeling Information for Rivaroxaban is Inadequate

The Xarelto label lacks a black box warning with respect to bleeding risk. The absence of a black
box warning inappropriately communicates to patients and physicians that Xarelto is safer than
Warfarin with respect to bleeding risk.

The Xarelto label also fails to inform physicians, like myself, of the following information: 1)
the degree of inter-patient variability with respect to drug plasma concentrations; 2) the near
linear correlation between drug plasma concentration and PT with numerous available reagents;

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3) the relationship observed between PT and bleeding risk in the ROCKET AF trial; and 4) the
utility of using a PT measurement to identify those patients at highest risk of bleeding.

From November 2011 until September 2015, the Xarelto label failed to properly inform
physicians of the bleeding risk for Xarelto relative to well-controlled INR for Warfarin in U.S.
patients. The hazard ratio for bleeding in U.S. patients in ROCKET AF is critical to
understanding the risk/benefit of Xarelto; this important information was not included in the
label until September 2015.

Lastly, the Xarelto label fails to adequately describe how the low TTR affected efficacy and
safety in the ROCKET AF trial.

If adequately warned of the risk of bleeding and inter-patient variability in the Xarelto label, a
reasonable physician would follow labeling instructions recommending that a patient’s PT
should be evaluated to determine whether that patient was placed at an unreasonably high risk of
experiencing a major bleeding event. Since the Xarelto label does not contain information on PT
evaluation to determine if a patient is at an unreasonably high risk of bleeding, then based on the
overall risk of bleeding and inter-patient variability in the Xarelto labeling, a reasonable
physician more than likely would not prescribe Xarelto.




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